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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                        Magistrate Judge N. Reid Neureiter

Civil Action No: 20-cv-03747-NRN               Date: July 16, 2021
Courtroom Deputy: Stacy Libid                  FTR: Courtroom C203

 Parties:                                      Counsel:

 KEVIN O’ROURKE,                               Ernest Walker, by VTC
 NATHANIEL L. CARTER,                          Gary Fielder
 LORI CUTUNILLI,
 LARRY D. COOK,
 ALVIN CRISWELL,
 KESHA CRENSHAW,
 NEIL YARBROUGH, and
 AMIE TRAPP,

      Plaintiffs,

 v.

 DOMINION VOTING SYSTEMS INC., a Delaware      Bridget DuPey
 corporation,                                  David Meschke
 FACEBOOK, INC., a Delaware corporation,       Stanley Garnett
 CENTER FOR TECH AND CIVIC LIFE, an Illinois   Joshua Lipshutz, by VTC
 non-profit organization,                      Joshua Matz, by VTC
 MARK E. ZUCKERBERG, individually,             Marcella Coburn, by VTC
 PRISCILLA CHAN, individually,                 Michael Skocpol, by VTC
 BRIAN KEMP, individually,                     Heather Meingast, by VTC
 BRAD RAFFENSPERGER, individually,             Jacob Boyer, VTC
 GRETCHEN WHITMER, individually,
 JOCELYN BENSON, individually,
 TOM WOLF, individually,
 KATHY BOOCKVAR, individually,
 TONY EVERS, individually,
 ANN S. JACOBS, individually,
 MARK L. THOMSEN, individually,
 MARGE BOSTELMAN, individually,
 JULIE M. GLANCEY,
 DEAN KNUDSON, individually,
 ROBERT F. SPINDELL, JR, individually, and
 DOES 1-10,000,
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    Defendants.


                              COURTROOM MINUTES


MOTION HEARING

10:43 a.m.   Court in session.

Court calls case. Appearances of counsel.

Court makes statement and order that no audio or video recording of hearing is
permitted and anyone violating the order may be held in contempt of court.

This matter is before the Court regarding:
      - Dominion Voting Systems Inc.’s Motion for Sanctions Pursuant to Fed. R. Civ.
          P. 11 and 28 U.S.C. § 1927 [Docket No. 98];
      - Governor Tom Wolf’s and Former Secretary Kathy Boockvar’s Motion for
          Sanctions [Docket No. 101];
      - Defendant Center for Tech and Civil Life’s Motion for Sanctions [Docket No.
          102];
      - Defendant Facebook, Inc.’s Motion for Sanctions [Docket No. 103]; and
      - Defendants Governor Gretchen Whitmer and Secretary of State Jocelyn
          Benson’s Motion for Sanctions [Docket No. 109].

Arguments by counsel.

ORDERED: Dominion Voting Systems Inc.’s Motion for Sanctions Pursuant to Fed. R.
         Civ. P. 11 and 28 U.S.C. § 1927 [Docket No. 98] TAKEN UNDER
         ADVISEMENT.

ORDERED: Governor Tom Wolf’s and Former Secretary Kathy Boockvar’s Motion for
         Sanctions [Docket No. 101] TAKEN UNDER ADVISEMENT.

ORDERED: Defendant Center for Tech and Civil Life’s Motion for Sanctions [Docket
         No. 102] TAKEN UNDER ADVISEMENT.

ORDERED: Defendant Facebook, Inc.’s Motion for Sanctions [Docket No. 103]
         TAKEN UNDER ADVISEMENT.

ORDERED: Defendants Governor Gretchen Whitmer and Secretary of State Jocelyn
         Benson’s Motion for Sanctions [Docket No. 109] TAKEN UNDER
         ADVISEMENT.
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1:00 p.m.    Court in recess.

Hearing concluded.
Total in-court time: 02:17

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